                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION

                                              )
DUSTIN MCALLISTER, and MICHELLE               )
O’LAIRE, on behalf of themselves and all      )
others similarly situated,                    )
                           Plaintiffs,        )
                                              )
               vs.                            )
                                              )
CKS FINANCIAL, LLC, a Virginia limited                         Case No.: 1:18-cv-00094-WCG
                                              )
liability company; WEBCOLLEX, LLC,            )
Virginia limited liability company; and, JOHN )
AND JANE DOES NUMBERS 1 THROUGH )
25,                                           )
                                              )
                              Defendants.     )


                                STIPULATION OF DISMISSAL

         PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Dustin

McAllister and Michelle O’Laire, Plaintiffs, hereby stipulate to and give notice of dismissal of

this action in its entirety, with prejudice as to themselves and without prejudice as to the rights of

the unnamed putative class members, without further costs or disbursements by or against any

party.

    IT IS SO STIPULATED this 16th day of March 2018.

      s/ Patrick D. Newman                                  s/ Andrew T. Thomasson
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 LLC and Webcollex, LLC                                Michelle O’Laire



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